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                                                                                             2025 Jan-06 AM 10:51
                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION


                                               }
IN RE: BLUE CROSS BLUE SHIELD                  }
                                               }     Master File No.: 2:13-CV-20000-RDP
ANTITRUST LITIGATION                           }
  (MDL NO.: 2406)                              }   This order relates to the Subscriber Track
                                               }


                                               ORDER

       This matter is before the court on two Complaints filed in camera with the Special Master

relating to attorneys fees awarded to Patrick W. Pendley and the law firm Pendley, Baudin &

Coffin, LLC in connection with the Subscriber Settlement. Both Complaints assert that counsel

other than Pendley and his firm have claims to a portion of the award to Pendley and his firm.

       The first Complaint was filed by attorney Gordon Ball, Gordon Ball, LLC, and Gordon

Ball PLLC (the “Ball Parties”). The second Complaint was filed by The Dampier Law Firm, P.C.

and McArthur Law, L.L.C. (the “Dampier Parties”).

       These Complaints are SEVERED from this action. The Clerk of Court is DIRECTED to

file the Amended Complaint filed by the Ball Parties and the Complaint filed by the Dampier

Parties into two separate civil actions, which will be assigned to the undersigned. The Special

Master is directed to file any related filings in the two cases, and any future filings SHALL be

filed with the court in the respective case.

       The court is aware that the method used to determine attorney fee allocations relating to

the Subscriber Settlement is confidential. However these cases do not appear to address how the

award to Pendley and the law firm Pendley, Baudin & Coffin, LLC was determined. The parties
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simply dispute whether the Ball Parties and/or the Dampier Parties are entitled to a portion of the

amounts awarded to Pendley and his firm. The parties to these to-be-filed cases are PROHIBITED

from attempting to address the method used to determine the Subscriber attorney fee allocations

in any manner in any public filing. However, the court sees no reason that these parties’ disputes

over the division of the award need to remain confidential.1

        The Clerk of Court SHALL also file a copy of this Order in each case.

        DONE and ORDERED this January 6, 2025.



                                                     _________________________________
                                                     R. DAVID PROCTOR
                                                     CHIEF U.S. DISTRICT JUDGE




        1
          The court is aware that the Ball Parties’ complaint discusses a medical issue suffered by Ball, but that
information is already in the public domain. See, e.g., https://www.newportplaintalk.com/opinion/article_9f6db45b-
da10-5dd8-b60c-b09496210882.html (last visited January 6, 2025).

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